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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TE                        31
                                                                                         1_




                                 AUSTIN DIVISION


COMMUNITY FINANCIAL
SERVICES ASSOCIATION OF
AMERICA, LTD., CONSUMER
SERVICE ALLIANCE OF TEXAS,
            PLAINTIFFS,
V.                                                           CAUSE NO. 1:18-CV-00295-LY

CONSUMER FINANCIAL
PROTECTION BUREAU, KATHLEEN
KRANINGER, IN HER OFFICIAL
CAPACITY AS DIRECTOR,
CONSUMER FINANCIAL BUREAU;
                   DEFENDANTS.


                                    FINAL JUDGMENT

       Before the court is the above-styled and numbered cause. On this date, the court rendered

an order granting summary judgment in favor of Defendants Consumer Financial Protection

Bureau and Kathleen Kraninger. As nothing remains for resolution in the cause, the court now

renders the following Final Judgment pursuant to Federal Rule of Civil Procedure 58.

       IT IS ORDERED that all costs of court are taxed against Plaintiffs and this case is hereby

CLOSED.

       SIGNED    thi4         day of August, 2021.




                                                UNITED STATES DISTRICT JUDGE
